      Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 1 of 21 Page ID #:1




 1   MARWA M. RIFAHIE, ESQ. (SBN 280777)
        mrifahie@cair.com
 2   PATRICIA C. SHNELL, ESQ. (SBN 316183)
 3      pshnell@cair.com
     COUNCIL ON AMERICAN-ISLAMIC RELATIONS-CA
 4   2180 West Crescent Ave., Ste. F
 5   Anaheim, California 92801
     Tel. (714) 776-1177 | Fax (714) 776-8340
 6
 7   Attorneys for Plaintiff
     Noor Hussain
 8
 9                             UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11
12   NOOR HUSSAIN,                              Case No.: 5:19-cv-00564

13                     Plaintiff,
14                                              COMPLAINT FOR DAMAGES FOR
                                vs.
                                                VIOLATIONS OF CIVIL RIGHTS
15                                              UNDER 18 U.S.C. § 1983, VIOLATION
16   COUNTY OF RIVERSIDE; RIVERSIDE             OF RELIGIOUS LAND USE AND
     COUNTY SHERIFF’S OFFICE;                   INSTITUTIONALIZED PERSONS
17                                              ACT AND SUPPLEMENTAL STATE-
     RIVERSIDE COUNTY SHERIFF CHAD
18   BIANCO in his official capacity;           LAW CLAIMS
     RIVERSIDE COUNTY FORMER
19
     SHERIFF STAN SNIFF in his official
20   capacity; DOES 1-15 in each of their       DEMAND FOR JURY TRIAL
     individual and official capacities
21
22                   Defendants.
23
24
25
26
27
28
                                            1
      Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 2 of 21 Page ID #:2




 1
 2
 3                                     INTRODUCTION
 4         1.     Plaintiff Noor Hussain is a practicing Muslim American who was denied
 5   the right to wear her religious headwear, hijab, and otherwise religiously cover herself
 6   by the Riverside County Sheriff’s Office and its deputies, from the time of her booking
 7   on May 30, 2018, until her release from Riverside County jail on June 1, 2018. While in
 8   the custody of the County of Riverside, Ms. Hussain was strip searched by female
 9   deputies and then forced to wear a jumpsuit that exposed her bare arms and was denied
10   the right to cover her hair. Ms. Hussain repeatedly informed the deputies of her
11   religious need to remain covered. Regardless, she was forced to appear uncovered
12   before several men who were not related to her, including officers, inmates, and
13   members of the public, before having her hijab restored to her. Though Ms. Hussain
14   continued to protest having her arms exposed, Riverside County sheriff’s deputies
15   refused to provide her with alternative covering during her entire time in County
16   custody, even though she had been thoroughly searched and did not pose any valid
17   security concerns.
18         2.     Moreover, Ms. Hussain was detained during the month of Ramadan, which
19   Muslims observe by fasting, refraining from food and water, from sunrise to sunset. Ms.
20   Hussain informed deputies of her need to be provided with food and water after sunset,
21   to perform the religious act of breaking her fast, however she was not provided with an
22   appropriate meal on May 30, 2018. As such, due to her religion, Ms. Hussain was
23   denied food and water from the time of her detention, midafternoon May 30, 2018, until
24   the morning of May 31, 2018.
25         3.     Finally, Ms. Hussain suffers from diabetes and low blood pressure, which
26   she requires medication to treat. Although she notified deputies of these medical needs,
27   she was denied her medications during the entirety of her detention. As a result of the
28   foregoing deprivations of the free exercise of her religion and right to medical care, Ms.
                                                 2
      Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 3 of 21 Page ID #:3




 1   Hussain suffered severe discomfort, humiliation, and emotional distress. By this
 2   Complaint, Ms. Hussain seeks relief from the substantial burdens that the County of
 3   Riverside, its officers, and its agents unlawfully imposed on the practice of her religion.
 4                               VENUE AND JURISDICTION
 5         4.     This action arises under 42 U.S.C. § 1983, the laws and Constitution of the
 6   United States, and the laws and Constitution of the State of California. This Court has
 7   subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343, 42 U.S.C. § 2000cc-2(a),
 8   and directly under the Constitution. This Court has supplemental jurisdiction under 28
 9   U.S.C. § 1367(a).
10         5.     Venue is proper under 28 U.S.C. § 1391 because a substantial part of the
11   events or omissions giving rise to the claims occurred in this district.
12
13                                           PARTIES
14         6.     Plaintiff Noor Hussain is 53 years-old and at all times relevant to this
15   complaint, resided in San Jacinto, California.
16         7.     Ms. Hussain is a practicing Muslim and an adherent of the Islamic faith.
17   In accordance with her religious beliefs and as a part of the exercise of her religion, Ms.
18   Hussain wears a headscarf known as the hijab. The word hijab comes from the Arabic
19   word “hajaba,” which means to hide or screen from view or to cover. Ms. Hussain’s
20   hijab covers her hair, ears, neck, and part of her chest when she is in public and when
21   she is in the presence of men who are not members of her immediate family. Ms.
22   Hussain’s religious belief in covering extends to her arms and legs, and she genuinely
23   feels it is a violation of her faith to appear before men not in her immediate family with
24   her arms or legs uncovered.
25         8.     According to her Islamic faith, Ms. Hussain also observes the month of
26   Ramadan, the holy month for Muslims. The dates for observing Ramadan are
27   determined by the Lunar calendar and change slightly each year. In 2018 Ramadan
28   began May 15, 2018 and ended June 14, 2018. As a Muslim, Ms. Hussain observes
                                             3
      Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 4 of 21 Page ID #:4




 1   Ramadan through fasting by abstaining completely from consuming any food or drinks
 2   between dawn and sunset.
 3          9.     Ms. Hussain also suffers from diabetes and low blood pressure. Both of
 4   these conditions require her to take daily medicine to treat.
 5          10.    Defendant County of Riverside (also referred to as “the County”) is a legal
 6   and political entity established under the laws of the State of California, with all of the
 7   powers specified and necessarily implied by the Constitution and the laws of the State
 8   of California and exercised by various government agents and officers. In this case, the
 9   County acted through its agents, employees, and servants, including the policymakers
10   for defendant Riverside County Sheriff’s Department (“RCSD”), and through
11   defendants Sheriff Chad Bianco (“Bianco”), the Sheriff of the RCSD, and former
12   Sheriff Stan Sniff (“Sniff”), the former Sheriff of the RCSD. Defendants Bianco and
13   Sniff are sued in their official capacities. Defendants County of Riverside and RCSD
14   are collectively referred to as “the entity defendants.”
15          11.    At all relevant times, defendants County of Riverside, RCSD, Bianco,
16   Sniff, and each of them, possessed the power and authority to adopt policies and
17   prescribe rules, regulations, and practices affecting all facets of the training,
18   supervision, control, employment, assignment and removal of individual deputies of the
19   RCSD, including those individual deputies of the RCSD charged with operating and
20   overseeing the booking and jailing of detainees and arrestees at the County’s jail
21   facilities.
22          12.    Does 1 through 10, are the RCSD deputies and supervising deputies who
23   deprived Ms. Hussain her right to wear a hijab and otherwise remain covered while in
24   County custody; as well as denying her food, water, and medication. These individual
25   defendants are charged with protecting the health, safety, and Constitutional rights of
26   detainees and arrestees at County of Riverside detention facilities, including Ms.
27   Hussain, and to assure that said actions, policies, rules, regulations, customs, practices
28
                                                   4
      Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 5 of 21 Page ID #:5




 1   and procedures of the RCSD complied with the laws and constitutions of the United
 2   States and the State of California.
 3         13.    At all relevant times, County of Riverside was the employer of each of the
 4   individually named Doe defendants, and the County of Riverside jails where Ms.
 5   Hussain was detained were County of Riverside-run facilities. On information and
 6   belief, the RCSD receives federal financial assistance as well as financial assistance
 7   from the State of California.
 8         14.     The true names of defendants Does 1 through 15 are presently unknown to
 9   Plaintiff, who therefore sues each of these defendants by such fictitious name; but upon
10   ascertaining the true identity of a defendant Doe, Plaintiff will amend this complaint or
11   seek leave to do so by inserting the true and correct name in lieu of the fictitious name.
12   Plaintiff is informed and believes, and on the basis of such information and belief
13   alleges, that each defendant Doe herein is in some manner responsible for the injuries
14   and damages alleged herein. Each individually named Doe defendant, like each
15   individually named defendant, acted under color of law and within the scope of his or
16   her agency and employment with County of Riverside as a sheriff’s deputy, sergeant,
17   detective, captain, lieutenant, commander, supervisor, and/or civilian employee, and
18   agent, policy maker, and representative of the County of Riverside. Each Doe is sued in
19   both his/her official and individual capacities.
20
21                                         EXHAUSTION
22         15.    Pursuant to California Government Code § 910, Plaintiff presented to
23   defendant County of Riverside the appropriate claim for damages. The claim was
24   rejected and thereby denied. This action was filed timely.
25
26                  FACTS PERTINENT TO ALL CAUSES OF ACTION
27         16.    Plaintiff repeats and re-alleges each and every allegation in paragraphs 1
28   through 15 of this complaint with the same force and effect as if fully set forth herein.
                                                5
      Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 6 of 21 Page ID #:6




 1         17.     Plaintiff Noor Hussain was arrested on May 30, 2018. On that day, Ms.
 2   Hussain, while at her home in San Jacinto, California, was involved in a dispute with
 3   her seventeen-year-old son that resulted in the police being called to Ms. Hussain’s
 4   residence.
 5         18.     When defendant, Doe 1, a RCSD deputy, arrived at the scene Ms. Hussain
 6   tried to explain to the deputy that she and her son had been in an argument and that he
 7   had left the house and she was preparing to have guests over for a fundraiser. The
 8   deputy then told Ms. Hussain to get into the squad car and took her down to the police
 9   station. Once she was in the back of the car Defendant Doe 1 placed her in handcuffs.
10   At no point was she informed that she was under arrest or read her Miranda rights.
11   Despite her confusion, Ms. Hussain cooperated with the officers with whom she
12   interacted.
13         19.     As previously stated, Ms. Hussain is a practicing Muslim and wears a hijab
14   in accordance with her sincerely-held religious beliefs. Many observant Muslim women
15   follow an interpretation of the Quran that makes it obligatory for women to cover their
16   heads and much of their body for the sake of dignity, modesty, and bodily integrity.
17         20.     After reaching the detention center, Ms. Hussain repeatedly requested to
18   make a phone call in order to inform the attendees of the fundraiser about her situation.
19   However, she was not permitted to use the phone.
20         21.     While Ms. Hussain was in the waiting room at the sheriff’s station she was
21   repeatedly searched by defendant Doe 2, a RCSD deputy. Ms. Hussain requested all
22   searches to be done in private however Defendant Doe 2 conducted multiple pat downs
23   in front of the people in the station’s waiting room. Each time Ms. Hussain expressed
24   that she felt this to be inappropriately revealing and in violation of her religious beliefs.
25         22.     Ms. Hussain was then taken into a private room where she was strip
26   searched by a female RCSD Deputy, Doe 3. After the strip search Ms. Hussain was
27   given a jumpsuit to wear. She was not given anything to cover her head. Ms. Hussain
28   told Doe 3 that she was a practicing Muslim woman and based on her faith she could
                                                6
      Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 7 of 21 Page ID #:7




 1   not be seen by other men without her hijab. Ms. Hussain also asked for something to
 2   cover her exposed arms as the jumpsuit had short sleeves. Doe 3 did not produce
 3   something for Ms. Hussain to cover her head with until several men had seen her
 4   uncovered. Moreover, despite making her religious needs clear, Ms. Hussain was never
 5   given anything to cover her arms. Thus, in violation of her religious beliefs, her arms
 6   were exposed the entirety of her time in detention.
 7         23.    Ms. Hussain had been thoroughly searched and was not acting in any
 8   manner that justified the removal of her hijab.
 9         24.    While Ms. Hussain’s head was uncovered, Doe 4, a RCSD officer,
10   continued to conduct the intake process. Due to being severely traumatized at the time,
11   Ms. Hussain does not fully recall all of what this entailed, but she believes that her
12   booking photo was taken while her hijab was off. Despite having told Doe 1, Doe 2,
13   Doe 3, and Does 4 through 8 (other RCSD officers) multiple times that she wears the
14   hijab in accordance with her religious practice, RCSD officers ignored her pleas,
15   prohibited her from covering her head with any religious headwear or fabric, and denied
16   all of Ms. Hussain’s requests to cover her head.
17         25.    Furthermore, Does 1 through 8 retaliated against Ms. Hussain for asserting
18   her rights to complain to law enforcement and to wear religious headwear, and these
19   Doe defendants made intimidating statements and actions against Ms. Hussain in order
20   to chill her speech.
21         26.    RCSD deputies eventually brought Ms. Hussain to a cell with other female
22   detainees. Ms. Hussain was not given anything to cover her arms. Throughout this time,
23   Ms. Hussain felt exposed, humiliated, and violated. Though she had made multiple
24   requests for something to cover her in accordance with her religious beliefs, Does 2
25   through 8 retaliated against Ms. Hussain for her assertion of her legal rights and
26   prevented her from donning anything to cover her arms.
27         27.    Once Ms. Hussain was placed in the cell she informed RCSD Deputy, Doe
28   4, that she was fasting in accordance with Islam’s holy month of Ramadan. She
                                                 7
      Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 8 of 21 Page ID #:8




 1   informed Doe 4 that she would need to be provided with food and water after sundown
 2   so that she could break her fast in accordance with her religious beliefs. Despite fully
 3   alerting deputies to this need, Ms. Hussain was not provided with appropriate food or
 4   drink. Rather, she was forced to break her fast by drinking water from the cell’s sink,
 5   which was located next to a toilet, and by eating someone else’s food scraps. She was
 6   not provided with food or drink until the morning of May 31, 2018.
 7         28.     On May 31, 2018, Ms. Hussain was removed from her cell by RCSD
 8   Deputy, Doe 5. Since she had not been given her blood pressure or diabetes medication,
 9   despite having had her blood sugar checked the previous day, Ms. Hussain refused to
10   have her blood checked. Doe 5 then returned Ms. Hussain to her cell while intentionally
11   jerking her arms back in a movement that caused Ms. Hussain much pain and
12   discomfort.
13   29.   In the aftermath of these incidents, Ms. Hussain felt exposed, humiliated, and
14   violated by what had happened, including having her body forcibly exposed. She cried
15   throughout the ordeal and experienced humiliation when both her religious beliefs and
16   personal integrity were violated. She felt that the male officers and male inmates had
17   seen parts of her body that, according to her religious beliefs, they should not have seen.
18
19                              DEFENDANTS' CULPABILITY
20         30.     On information and belief, Defendants County of Riverside, the RCSD,
21   Bianco, Sniff, and Does 1 through 15, its employees and agents, forced Ms. Hussain to
22   remove her religious coverings pursuant to a custom, practice, or official policy that
23   permits RCSD deputies and officials to strip the religious coverings of detainees in the
24   booking process and while in County custody. The County does not have a policy that
25   sets forth the circumstances in which detainees are permitted to wear items to cover
26   themselves for religious purposes. The lack of written policy to protect detainees’
27   religious freedom to wear religious coverings is itself a policy and/or custom, which
28   permits RCSD deputies to flat-out ban religious coverings. As evidence of this
                                                8
         Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 9 of 21 Page ID #:9




 1   customary policy, Defendant Does effectively stated that Ms. Hussain was not allowed
 2   to maintain her religious beliefs while in detention.
 3            31.    Defendants County of Riverside, the RCSD, Bianco, Sniff, and Does 1
 4   through 15, and its employees and agents caused the forcible removal of Ms. Hussain’s
 5   hijab, and thereafter prohibited her from wearing religious coverings pursuant to a
 6   custom, practice, or official policy promulgated and implemented by the County of
 7   Riverside, the RCSD, Bianco, Sniff, and Does 1 through 10, which was ratified by the
 8   County of Riverside or which the County of Riverside failed to address.
 9            32.    As the entity defendants have no written policy forbidding its employees
10   from removing detainees’ religious coverings or describing the certain scenarios when
11   detainees would be permitted to wear religious headwear and other clothing, and since
12   entity defendants, Bianco, Sniff, and supervisory sheriff’s deputies (certain Doe
13   defendants) have not trained RCSD officers to permit detainees to wear religious
14   coverings while in County custody, RCSD officers have filled this vacuum of a lack of
15   training with a custom and practice of denying detainees the right to wear religious
16   coverings. As a consequence, Doe defendants were free to exert their own personal
17   religious prejudices and strip Ms. Hussain of her right to cover her head and body while
18   in County custody.
19            33.    In contrast to the RCSD policy, custom, or practice of effectively forcing
20   Muslim women to remove their religious coverings while in County custody, the
21   Federal Bureau of Prisons (“BOP”) has enacted a policy accommodating “religious
22   headwear” providing that “[s]carves and head-wraps (hijabs) are appropriate for female
23   inmates.” See U.S. Dep’t of Justice, Federal Bureau of Prisons, Program Statement re:
24   Religious Beliefs and Practices (Dec. 31, 2004).1 The federal policy authorizes female
25   Muslim inmates to wear a “hijab,” and it states that such “[r]eligious headwear is worn
26   throughout the institution.” Id. The policy is intended to protect “the religious rights of
27
28   1
         http://www.bop.gov/policy/progstat/5360_009.pdf
                                                      9
     Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 10 of 21 Page ID #:10




 1   inmates of all faiths” while maintaining “the security and orderly running of the
 2   institution.” Id.
 3          34.    The United States Department of State permits individuals to maintain
 4   their religious headwear in official passport photographs. According to the Department
 5   of State website, this accommodation should be granted to individuals who “submit a
 6   signed statement that verifies that the hat or head covering in [the person’s] photograph
 7   is part of recognized, traditional religious attire that is customarily or required to be
 8   worn in public.” 2
 9          35.    As of 2012, the U.S. Citizenship and Immigration Services (“USCIS”)
10   permits religious headwear to be worn in photographs. Specifically, “USCIS will
11   accommodate an individual who wears headwear as part of their religious practices.”3 If
12   the headwear casts a shadow over the individual’s face making identification
13   impossible, USCIS will “ask an individual to remove or adjust portions of religious
14   headwear that covers all or part of the individual’s face.” Id. If the individual is asked
15   to remove all or part of their religious headwear, USCIS will offer a private room or
16   screened area and a same gender photographer. Id. If USCIS is unable to accommodate
17   with a private room and same gender photographer, USCIS will offer to reschedule the
18   appointment until an accommodation can be made. Id.
19          36.    Like the BOP, State Department, and USCIS, other states have enacted
20   policies accommodating religious headwear. For example, the Kentucky Department of
21   Corrections permits “[s]carves and head wraps to be authorized for female inmates who
22   have identified a religious preference of Muslim, Jewish, Native American, Rastafarian,
23   and those of the orthodox Christian tradition.” This includes the hijab. See Kentucky
24   Corrections, Policies and Procedures, Policy No. 23.1, at 5 (filed Jan. 9, 2007).
25   Similarly, the New York Department of Correctional Services permits inmates to wear
26
27   2
      https://ru.usembassy.gov/u-s-citizen-services/passports/photos
     3
      https://www.uscis.gov/sites/default/files/USCIS/Laws/Memoranda/2012/August%202
28   012/Accommodating%20Religious%20Beliefs%20PM.pdf
                                                  10
     Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 11 of 21 Page ID #:11




 1   religious headwear. See State of New York, Dep’t of Correctional Servs., Directive No.
 2   4202, Religious Programs and Practices at 9 (October 19, 2015).
 3          37.    In contrast to the County’s policy, custom, or practice prohibiting the use
 4   of religious headwear, counties neighboring the County of Riverside have enacted
 5   policies accommodating religious headwear. For instance, following a lawsuit by a
 6   Muslim woman forced by local deputies to remove her headwear while in custody in
 7   San Bernardino County's West Valley Detention Center, San Bernardino County agreed
 8   in 2008 to adopt a policy accommodating the right of Muslim women to wear
 9   headscarves in San Bernardino County jails. 4
10          38.    As another example, the Orange County Sheriff's Department, as of 2013,
11   does not require Muslim women in custody to remove their headscarves in front of male
12   officers, and provides temporary headscarves. This occurred following a suit by a
13   Muslim woman placed in North County Justice Center for several hours after being
14   forced to remove her headscarf.5
15          39.    Additionally, after a 2016 lawsuit by a Muslim woman whose hijab was
16   removed while in custody overnight, the Long Beach Police Department has adopted
17   procedures permitting female arrestees and inmates to maintain their hijab at all times
18   while in custody, including during booking photos. 6
19          40.    These examples show a growing national consensus that there is no basis
20   to require the removal of religious headwear for official government photos, or while in
21   criminal custody.
22          41.    The entity defendants, Bianco, Sniff, and Riverside County employees and
23   agents, Doe defendants, forced Plaintiff to appear in front of men and to take her
24   booking photo without her religious headwear, pursuant to a custom, practice, or
25   official policy to disregard Muslim religious practices.
26
     4 https://www.aclu.org/news/san-bernardino-county-agrees-allow-religious-head-scarves-county-jails
27   5 http://www.ocregister.com/articles/religious-495992-county-court.html
     6 www.presstelegram.com/2016/12/25/long-beach-police-change-policy-will-allow-muslim-women-
28   to-wear-headscarves-while-in-custody/
                                                     11
     Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 12 of 21 Page ID #:12




 1         42.    Federal legislation has been enacted to demonstrate our robust national
 2   commitment to the free exercise of religion and to prohibit the government from
 3   placing a substantial burden on religious beliefs. This legislation, which reflects an
 4   increased awareness of and support for religious interests in practices like covering,
 5   “shall be construed in favor of a broad protection of religious exercise, to the maximum
 6   extent permitted by … the Constitution.” 42 U.S.C. § 2000cc-3(g). The statute, the
 7   Religious Land Use and Institutionalized Persons Act (“RLUIPA”) even “may require a
 8   government to incur expenses in its own operations to avoid imposing a substantial
 9   burden on religious exercise.” 42 U.S.C.§ 2000cc-3(c).
10         43.    The Supreme Court has held that an Arkansas Department of Corrections
11   policy that prevented a Muslim inmate from wearing a tightly cropped beard
12   substantially burdened the prisoner’s religious exercise under RLUIPA. See Holt v.
13   Hobbs, 135 S.Ct. 853 (2015). The Fifth Circuit has applied Holt to religious headwear,
14   holding that a Texas state prison could not carry its burden under RLUIPA with respect
15   to its denial of a Muslim inmate’s request to wear a kufi (a type of cap often worn by
16   Muslim men) throughout a Texas prison’s facilities. See Ali v. Stephens, 822 F.3d 776,
17   797 (5th Cir. 2016).
18         44.    In contravention of RLUIPA and the tolerant, inclusive policies it
19   embodies, the RCSD’s booking policy has had an extensive and corrosive effect on
20   Muslim women in County of Riverside, and other County of Riverside residents who
21   wear religious head coverings and are arrested by the RCSD.
22         45.    Moreover, the booking policy is a profound manifestation of insensitivity
23   towards religious practices and interests. In today’s politically polarized environment
24   where top-level public officials make disparaging comments about Muslims, and
25   American Muslims are often perceived as being non-American or un-American, it is
26   incumbent on the RCSD to increase awareness of and sensitivity towards the Muslim-
27   American community by setting an example in their arrest and booking practices, not
28   further perpetuating mistrust and disrespect.
                                                12
     Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 13 of 21 Page ID #:13




 1         46.    Defendants' forcible removal of Ms. Hussain’s religious coverings
 2   pursuant to the above-described custom, practice, or policy violated Ms. Hussain’s right
 3   to the free exercise of her religion, violated her rights under federal law, violated her
 4   rights under the California Constitution and laws, and caused her extreme mental and
 5   emotional distress.
 6
 7                                 FIRST CAUSE OF ACTION
 8            Violation of Religious Land Use and Institutionalized Persons Act
 9                                  42 U.S.C. §§ 2000cc et seq.
10                                    (Against All Defendants)
11         47.    Plaintiff incorporates the above paragraphs as though fully set forth here.
12         48.    At all relevant times, Plaintiff was in the custody of the RCSD, and in jails
13   operated by the County. At all relevant times Plaintiff was under the direct supervision
14   and control of her jailers, deputies of the RCSD.
15         49.    Under the Religious Land Use and Institutionalized Persons Act of 2000
16   (“RLUIPA”), 42 U.S.C. § 2000cc(1), “No government shall impose a substantial
17   burden on the religious exercise of a person residing in or confined to an institution …
18   even if the burden results from a rule of general applicability, unless the government
19   demonstrates that imposition of the burden on that person – (A) is in furtherance of a
20   compelling governmental interest; and (B) is the least restrictive means of furthering
21   that compelling governmental interest.” See 42 U.S.C. § 2000cc(1).
22         50.    While in the custody of the RCSD, and jails operated by the County, an
23   institution that receives federal funding, Defendants substantially burdened Ms.
24   Hussain's religious exercise by doing, encouraging, assisting, ratifying, and/or with
25   deliberate indifference failing to prevent the following: (a) removing her religious
26   headwear, in the presence of male officers and male inmates, when female officers were
27   available to accommodate Plaintiff, (b) prohibiting her from covering her arms for the
28   duration of her detention, and (c) failing to provide her with food and water at a time
                                                  13
     Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 14 of 21 Page ID #:14




 1   that allowed her to eat while maintaining her religious beliefs.
 2         51.    By their actions in denying Ms. Hussain religious coverings, Defendants
 3   imposed a substantial burden on Plaintiff's religious exercise by forcing Plaintiff to
 4   violate a fundamental tenet of her faith and a central component of her religious
 5   practice. “A Muslim woman who must appear before strange men she doesn't know,
 6   with her hair and neck uncovered in a violation of her religious beliefs, may feel shame
 7   and distress. This is precisely the kind of 'mischief' RLUIPA was intended to remedy.”
 8   Khatib v. County of Orange, 639 F.3d 898, 907 (9th Cir. 2011) (Gould, J., concurring).
 9   That substantial burden neither furthers a compelling governmental interest nor is the
10   least restrictive means of furthering a compelling governmental interest.
11         52.    Accordingly, Defendants have violated Plaintiff's rights under RLUIPA.
12   As a result of Defendants' conduct, Plaintiff suffered, and continues to suffer, extreme
13   shame, humiliation, mental anguish, and emotional distress.
14
15                               SECOND CAUSE OF ACTION
16                         Violation of Civil Rights - 42 U.S.C. § 1983
17                         (First Amendment - Against All Defendants)
18         53.    Plaintiff incorporates by reference each and every allegation contained in
19   the foregoing paragraphs as if re-alleged herein.
20         54.    At all relevant times, Plaintiff was in the custody of the RCSD, and in a jail
21   operated by the County. At all relevant times Plaintiff was under the direct supervision
22   and control of her jailers, deputies of the RCSD.
23         55.    The entity defendants, individual defendants, and Doe defendants, while
24   acting under color of law, deprived Plaintiff of her civil rights under the First
25   Amendment by acting and/or allowing each other to act in a threatening or violent
26   manner and otherwise engaging in conduct that inhibited Plaintiff’s freedom of speech
27   and right to petition for redress of grievances and to complain about her treatment
28   during the booking process, and that such actions undertaken by defendants would chill
                                                14
     Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 15 of 21 Page ID #:15




 1   a person of ordinary firmness from continuing to engage in freedom of speech.
 2         56.       The above acts and omissions, while carried out under color of law, have
 3   no justification or excuse in law, and instead constitute a gross abuse of governmental
 4   authority and power that shock the conscience. They are fundamentally unfair,
 5   arbitrary, and oppressive, and unrelated to any activity which governmental officers
 6   may appropriately and legally undertake in the course of protecting persons or ensuring
 7   order. The above acts and omissions were consciously chosen from among various
 8   alternatives.
 9         57.       The conduct of entity defendants and Doe defendants was willful, wanton,
10   malicious, or done with reckless disregard for the rights and safety of Plaintiff.
11         58.       Plaintiff specifically alleges that Defendants’ complained of acts and/or
12   omissions were within each of their control, and within the feasibility of each of them,
13   to alter adjust, and/or correct so as to prevent some or all of the unlawful acts and
14   injuries complained of herein by Plaintiff.
15         59.       As a direct and proximate result of the aforesaid acts, omissions, customs,
16   practices, policies and decisions of the defendants, Plaintiff suffered extreme and severe
17   mental anguish, and was injured as alleged above, entitling her to recover compensatory
18   and punitive damages (except as to the entity defendants) according to proof.
19
20                                  THIRD CAUSE OF ACTION
21                           Violation of Civil Rights - 42 U.S.C. § 1983
22                          (Fourteenth Amendment - Against Does 2 to 8)
23         60.       Plaintiff incorporates by reference each and every allegation contained in
24   the foregoing paragraphs as if re-alleged herein.
25         61.       At all relevant times, Plaintiff was in the custody of the RCSD, and in a jail
26   operated by the County. At all relevant times Plaintiff was under the direct supervision
27   and control of her jailers, deputies of the RCSD.
28         62.       Defendant Doe 3, while acting under color of law, deprived Plaintiff of her
                                                  15
     Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 16 of 21 Page ID #:16




 1   civil rights under the Fourteenth Amendment to the United States Constitution when
 2   she forced Plaintiff to appear in front of men without appropriate religious coverings on
 3   her head and arms. The harm persisted when Does 2 through 8 denied Ms. Hussain’s
 4   repeated requests for some type of clothing to cover her arms. Does 2 through 8, while
 5   acting under color of law, then persisted in denying Ms. Hussain any type of arm-
 6   covering while she was in RCSD custody.
 7         63.    Moreover, Defendant Doe 5’s use of force to return Ms. Hussain to her cell
 8   was partially retaliation for Ms. Hussain’s attempts to assert her religious rights. The
 9   force used when returning Ms. Hussain to her cell was harmful, unwanted, and
10   excessive.
11         64.    Does 2 through 8’s actions were unreasonable, unjustified, and offensive to
12   human dignity. They were also with deliberate indifference to the rights of Plaintiff.
13
14                              FOURTH CAUSE OF ACTION
15                        Entity Liability – Deprivation of Civil Rights
16                                       42 U.S.C. § 1983
17    (Against the County, RCSD, Sheriff Bianco, former Sheriff Sniff, and Certain Does)
18         65.    Plaintiff incorporates by reference each and every allegation contained in
19   the foregoing paragraphs as if re-alleged herein.
20         66.    Plaintiff is informed and believes, and thereon alleges that, at all times
21   herein mentioned, defendants County, RCSD, and the relevant policy makers Bianco,
22   Sniff, and certain County officials (unnamed certain Does) maintain or tolerate
23   unconstitutional customs, practices, and policies that facilitated the deprivation of
24   Plaintiff’s rights under the First and Fourteenth Amendment, as alleged above.
25         67.    Additionally, Plaintiff is informed and believes and thereon alleges that, at
26   all times herein mentioned, defendants County, RCSD, and the relevant policymakers
27   Bianco, Sniff, and certain County officials and/or officers within the RCSD (certain
28   Does), with deliberate indifference, and conscious and reckless disregard to the safety,
                                                16
     Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 17 of 21 Page ID #:17




 1   security and constitutional rights of Plaintiff, maintained, enforced, tolerated, ratified,
 2   permitted, acquiesced in, and/or applied, among others, the following policies, practices
 3   and customs: (a) failing to adequately train, supervise, and control custodians of jail
 4   inmates/detainees in properly permitting inmates/detainees to maintain religious
 5   practices; (b) failing to establish policies and procedures to permit jail
 6   inmates/detainees to maintain religious practices; (c) failing to adequately train,
 7   supervise, and control custodians of jail inmates in the proper manner to remove
 8   religious headwear worn by jail inmates/detainees; (d) failing to establish policies and
 9   procedures to protect arrestees, detainees, and inmates from being stripped of their
10   religious rights; (e) failing to adequately train, supervise, and control custodians of jail
11   inmates from retaliating against those inmates who assert their right to maintain their
12   religious beliefs; (f) failing to adequately train, supervise, and control custodians of jail
13   inmates in properly preventing male officers and inmates from viewing female inmates
14   who are uncovered, in violation of sincerely held religious beliefs.
15         68.    The individual defendants and Doe defendants acted under color of law
16   and within the course and scope of their employment by the County and RCSD.
17         69.    The individual and Doe defendants deprived Plaintiff of her particular
18   rights under the First Amendment, and Doe 2 through 8 deprived Plaintiff of her rights
19   under the Fourteenth Amendment, as alleged above.
20         70.    The policies, customs, and practices described above are evidenced by the
21   treatment of Plaintiff by RCSD deputies, namely, that County officials: (a) forced
22   Plaintiff to appear in front of men not in her family without her hijab and with her arms
23   exposed; (b) denied Plaintiff’s requests for any type of arm-covering, and; (c) denied
24   Plaintiff food and water at a time that allowed her to maintain her religious practices.
25   The above actions are evidence of entity defendants’ systematic failure to comply with
26   their constitutional obligations.
27         71.    Defendants had either actual or constructive knowledge of the deficient
28   policies, practices, and customs alleged in the paragraphs above. Doe defendants,
                                                 17
     Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 18 of 21 Page ID #:18




 1   individual County officials, acted with deliberate indifference to the foreseeable effects
 2   and consequences of these policies, practices, and customs with respect to the
 3   constitutional rights of Plaintiff and other female arrestees and detainees similarly
 4   situated.
 5         72.    As a direct and proximate result of the aforesaid acts, omissions, customs,
 6   practices, policies, and decisions of the aforementioned defendants, Plaintiff was
 7   injured and sustained damages as alleged above. Accordingly, Plaintiff seeks
 8   compensatory damages from all the entity defendants, Bianco, and Sniff, and punitive
 9   damages from defendants certain Does, in their individual capacities only.
10
11                                FIFTH CAUSE OF ACTION
12               Violation of the California Constitution – Article 1, Section 4
13                                   (Against All Defendants)
14         73.    Plaintiff incorporates by reference each and every allegation contained in
15   the foregoing paragraphs as if re-alleged herein.
16         74.    Article I, Section 4 of the California Constitution provides: “Free exercise
17   and enjoyment of religion without discrimination or preference are guaranteed.”
18         75.    By their actions described above, including that Doe defendants, RCSD
19   deputies: (a) removing her religious headwear, in the presence of male officers and
20   male inmates, when female officers were available to accommodate Plaintiff, (b)
21   prohibiting her from covering her arms for the duration of her detention, and (c) failing
22   to provide her with food and water at a time that allowed her to eat while maintaining
23   her religious beliefs. In doing so, Defendants denied Plaintiff the right to free exercise
24   of her religion without discrimination, as guaranteed by Article I, Section 4 of the
25   California Constitution.
26         76.    As a result of Defendants’ conduct, Plaintiff suffered, and continues to
27   suffer extreme humiliation, shame, mental anguish, and emotional distress.
28         //
                                                 18
     Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 19 of 21 Page ID #:19




 1                                   SIXTH CAUSE OF ACTION
 2                                Violation of Cal. Civ. Code § 52.1
 3                                      (Against All Defendants)
 4         77.       Plaintiff incorporates by reference each and every allegation contained in
 5   the foregoing paragraphs as if re-alleged herein.
 6         78.       California’s Tom Bane Act, California Civil Code § 52.1, provides a civil
 7   action for damages for a person whose enjoyment of federal or state rights has been
 8   interfered with by a person who, whether or not acting under color of state law,
 9   interferes with that right by threats, intimidation, or coercion. See Cal. Civ. Code §
10   52.1(a), (b).
11         79.       Defendant Does, RCSD deputies: (a) forced Plaintiff to appear in front of
12   men not in her family without her hijab and with her arms exposed; (b) denied
13   Plaintiff’s requests for any type of arm-covering, and; (c) denied Plaintiff food and
14   water at a time that allowed her to maintain her religious practices.
15         80.       The above behavior amounted to contact highly offensive to her bodily
16   integrity, thus Doe defendants unlawfully interfered with Plaintiff's federal and state
17   rights to the free exercise of her religion in violation of California's Tom Bane Act.
18   These rights are guaranteed to Plaintiff by the First Amendment of the United States
19   Constitution and by Article I, Section 4 of the Constitution of the State of California.
20         81.       As a result of Defendants' threats, coercion, or intimidation, Plaintiff was
21   harmed in that she was forced to be exposed to men not part of her immediate family in
22   violation of her religious beliefs, was denied food and water, and suffered emotional
23   distress because of Defendants' actions described above.
24
25                                SEVENTH CAUSE OF ACTION
26                                Violation of Cal. Civ. Code § 51.7
27                                      (Against All Defendants)
28         82.       Plaintiff incorporates the above paragraphs as though fully set forth here.
                                                    19
     Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 20 of 21 Page ID #:20




 1         83.      California’s Ralph Unruh Civil Rights Act, California Civil Code §§ 51.7,
 2   52(b), protects individuals from hate violence on account of religion, including physical
 3   assault, and provides civil remedies including actual damages, punitive damages, civil
 4   penalties, and attorney’s fees. See Cal. Civ. Code §§ 51.7, 52(b).
 5         84.      Doe defendants, RCSD deputies, battered, assaulted, and threatened
 6   Plaintiff in violation of California’s Ralph Unruh act in that they: (a) forced Plaintiff to
 7   appear in front of men not in her family without her hijab and with her arms exposed;
 8   (b) denied Plaintiff’s requests for any type of arm-covering, and; (c) denied Plaintiff
 9   food and water at a time that allowed her to maintain her religious practices.
10         85.      As a result of Defendants’ threats, coercion, or intimidation, Plaintiff was
11   harmed in that she was stripped of an essential aspect of her religious practice, made to
12   stand uncovered in front of men not part of her immediate family (in violation of her
13   sincerely held religious beliefs), denied food and water, and suffered emotional distress
14   due to the violation of her Constitutional rights.
15
16                                           PRAYER FOR RELIEF
17         Plaintiff therefore respectfully requests that the Court enter a judgment,
18   including, but not limited to:
19            a. Compensatory damages in an amount to be proven at trial;

20               b. Punitive damages against certain individual Doe defendants in an amount
21
                    to be proven at trial;
22
23               c. Nominal damages;

24               d. Costs and reasonable attorneys' fees;
25
                 e. Such additional and further relief as the Court deems just and equitable.
26
27    //

28
                                                   20
     Case 5:19-cv-00564-R-SK Document 1 Filed 03/29/19 Page 21 of 21 Page ID #:21




 1
                                         COUNCIL ON AMERICA-ISLAMIC
 2   DATED: March 29, 2019               RELATIONS-CA (CAIR-CA)
 3
                                         By:     /s/ Patricia Shnell
 4                                              Patricia Shnell
 5                                             Attorney for Plaintiff,
                                               NOOR HUSSAIN
 6
                                        JURY DEMAND
 7
          Plaintiff Noor Hussain hereby demands trial by jury on all issues so triable.
 8
 9                                       COUNCIL ON AMERICA-ISLAMIC
     DATED: March 29, 2019               RELATIONS-CA (CAIR-CA)
10
11                                       By:     /s/ Patricia Shnell
12                                              Patricia Shnell
                                               Attorney for Plaintiff,
13                                             NOOR HUSSAIN
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               21
